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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


SYMBOLOGY INNOVATIONS, LLC,

       Plaintiff,
                                                     CASE NO. 2:23-CV-00249-JRG
       v.
                                                       JURY TRIAL DEMANDED
KEURIG DR PEPPER, INC.,

       Defendant.


                 DEFENDANT’S AMENDED NOTICE OF COMPLIANCE

       In compliance with the Court’s standing order regarding motions under 35 U.S.C. § 101,

Defendant Keurig Dr Pepper, Inc. hereby files this Amended Notice of Compliance. The joint

letter is attached as Exhibit A.
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 Dated: July 18, 2023                        Respectfully submitted,

                                             /s/ Ricardo J. Bonilla
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                                             ATTORNEYS FOR DEFENDANT
                                             KEURIG DR PEPPER, INC.



                                  CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy has been electronically filed using the CM/ECF

filing system on July 18, 2023, which automatically sends email notifications to all counsel of

record and which will permit viewing and downloading of same from the CM/ECF system.

                                             /s/ Ricardo J. Bonilla
                                             Ricardo J. Bonilla




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